IN THE UNITED STATES DISTRICT COURT FOR THE
EASTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA,

)

)

Plaintiff, )

)

Vv. ) Civil No.

)

DOROTHY A. RECARDE, )
)

ROBIN L. MARCELLO, in her capacity )
as Chester County (Pa.} Clerk of Court, )
)

Defendants. )

COMPLAINT

Plaintiff, the United States of America, a delegate of the Secretary of the
Treasury, and at the direction of the Attorney General, at the request and with the
authorization of the Chief Counsel of the Internal Revenue Service, brings this action to
obtain: (a) an order declaring as null, void, and without legal effect the “Commercial
Lien,” “Notice of Fault and Opportunity to Cure,” and “Certificate of Non-Response -
Notice of Default,” and any subsequently filed or related documents, that defendant
Dorothy A. Recarde filed in the Chester County Court of Commons Pleas on March 31,
2014 and on April 14, 2014 against Zachary L. McNichol; Fredrick P. Henrich, President
- Coatesvile Savings Bank; and John F. McKenna, Legal Counsel - Coatesville Savings

Bank; and (b) an order enjoining defendant Recarde from all future filings of similar

instruments.
JURISDICTION & VENUE

1. This Court has jurisdiction over this action pursuant to 28 U.S.C. §§ 1340
and 1345, and 26 U.S.C. § 7402.

2. Venue is proper in this district pursuant to 28 U.S.C. § 1391(b)(2).

PARTIES

3. Plaintiff is the United States of America.

4A, Defendant Dorothy A. Recarde is a natural person who, upon information
and belief, currently resides within this judicial district. Defendant Recarde is President
of Summerbeam Woodworking, Inc. (“Summerbeam’”), a business located in Kirkwood,
Pennsylvania.

3. Defendant Robin L. Marcello is currently the Chester County Clerk and
maintains her principal place of business in Chester, Pennsylvania within this judicial
district. Ms. Marcello is sued solely in her official capacity for the purpose of obtaining
the requested relief of indexing a judicial order that the “Commercial Lien,” “Notice of
Fault and Opportunity to Cure,” and “Certificate of Non-Response - Notice of Default”
filed by Recarde are null, void, and without legal effect. No damages, costs, or fees are
being sought against Ms. Marcello by this action.

CLAIM FOR RELIEF

6. On or about March 31, 2014, defendant Recarde caused to be filed in the

public records of the Clerk of Chester County, Pennsylvania a document entitled

“Commercial Lien” against Zachary L, McNichol, Frederick P. Henrich, and John F.

-2-
McKenna, Defendant Recarde attached ten “Supporting Documents” to the
“Commercial Lien.” (A true and correct copy these documents are attached as Exhibit
1.)

7. On April 14, 2014, defendant Recarde filed an “Addendum” to the
Commercial Lien, a “Notice of Fault and Opportunity to Cure,” and “Certificate of
Non-Response ~ Notice of Default.” (A true and correct copy these documents are
attached as Exhibit 2.)

8. At all times mentioned herein, McNichol was a Revenue Officer of the
Internal Revenue Service in Lancaster, Pennsylvania, and was acting within the course
and scope of his employment as a Federal employee.

9. Summerbeam failed to pay over to the United States employment taxes it
collected from its workers wages during the quarterly periods ending June 30, 2008,
September 30, 2008, December 31, 2008, December 31, 2010, and March 31, 2011.

10. Inanattempt to collect Summerbeam’s unpaid tax liabilities, (referred to
in paragraph 4, above), on January 23, 2014, February 21, 2014, and April 4, 2014,
Officer McNichol issued Notices of Levy upon Summerbeam’s corporate bank account
to Coatesville Savings Bank in Coatesville, Pennsylvania. Coatesville Svings Bank
complied with the United States’ levies by remitting funds out of Summerbeam’s

corporate bank account over to the IRS as follows, which partially paid Summerbeam’s

tax liability.
11. As a result of the IRS’s collection activity, defendant Recarde filed, in
Chester County Court at Docket Number 2013-02694 , the “Commercial Lien,” “Notice
of Fault and Opportunity to Cure,” and “Certificate of Non-Response - Notice of
Default,” and related documents, against Officer McNichol; and Messrs. Henrich and
McKenna.

12. The documents Recarde filed, attached as Exhibits 1 and 2, were filed in
retaliation against Officer McNichol for acts performed by him as part of his official
duties, under his authority as an officer or under the direction of officers of the United
States, and in retaliation against Messrs. Henrich and McKenna for causing Coatesville
Savings Bank to comply with the United States’ levies.

14. The documents Recarde filed, attached as Exhibits 1 and 2, lack any legal
basis whatsoever and are specifically calculated to cause substantial interference with
the enforcement of the laws of the United States pertaining to the internal revenue, and
to molest, interrupt, hinder or impede an employee or officer of the United States who
was in good faith performing his official duties, and to impede future compliance with
the United States’ levies by Coatesville Savings Bank, or by its officers, employees,
attorneys, or agents.

15. Defendant Recarde’s filings are without any legal basis, and are solely
designed to harass a Federal officer and employee in the performance of his official

duties, and to harass the Bank’s President and its attorney due to the bank’s compliance
with the United States’ attempts to collect the Sammerbeam’s unpaid tax liabilities.
Thus, Recarde’s filings impose an immediate and irreparable harm.

16. Defendant Recarde’s filings impose an immediate and irreparable injury
upon the United States by impeding, obstructing and impairing the execution of the
official duties of its employees and officers.

17. The public interest will be served by an order declaring the "Commercial
Lien,”“Supporting Documents,” the “Addendum” to the Commercial Lien, the “Notice
of Fault and Opportunity to Cure,” and “Certificate of Non-Response - Notice of
Default, and. any subsequently filed or related documents, to be null and void; and
permanently enjoining defendant Recarde and all those in active concert or
participation with her from filing, or attempting to file, any document or instrument
which purports to create a "Commercial Lien,” a “Notice of Fault and Opportunity tc
- Cure,” or a “Certificate of Non-Response - Notice of Default,” or any other similar
judicial order or purported judgment which has the effect of interfering with federal tax
administration against the person or property of any Federal officer or employee or
against Coatesville Savings Bank, its officers, employees, attorneys, or agents.

WHEREFORE, the United States of America prays that this Court:

A. . Determine, adjudge and declare that the "Commercial Lien” and
“Supporting Documents” filed on March 31, 2014 (and attached as Ex. 1), and the
“Addendum” to the Commercial Lien, the “Notice of Fault and Opportunity to Cure,”

and “Certificate of Non-Response - Notice of Default,” filed on April 14, 2014 (attached

-5-
as Ex. 2), and any subsequently filed documents, filed by defendant Dorothy A. Recarde
against Zachary McNichol, Frederick P. Henrich, and John F. McKenna, to be null, void
and of no legal effect;

B. Permanently enjoin defendant Dorothy A. Recarde, her agents, and all
others in active concert or participation with her from filing, or attempting to file, any
document or instrument which purports to create a commercial lien or judgment
against the person or property of any employee or officer of the United States, or
against any other person or entity, including Coatesville Savings Bank, or by its officers,
employees, attorneys, or agents, that would have the effect of impeding compliance
with federal tax administration.

C. Award the United States its costs and reasonable attorneys' fees incurred
in this action; and

D. Grant such other and further relief as the Court deems to be just and

proper.
Dated: May 8, 2014.

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United States Attorney

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Assistant Attorney General
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/s/ Thomas J. Jaworski

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